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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA
 UNITED STATES OF AMERICA                  )          Case No. 4:05CR3060
                                           )
                         Plaintiff,        )
                                           )          ORDER GRANTING
                                           )          MOTION TO SEAL
         vs.                               )          TO-BE-FILED MOTION
                                           )          FOR INTERIM PAYMENTS
 FERNANDO NUNEZ,                           )          AND ANY ACCOMPANYING
                                           )          ORDER
                         Defendant.        )




         Before this Court is the Defendant’s Motion to Seal to-be-filed Motion for Interim

 Payments and any accompanying order. Upon due consideration of the same, the Motion to

 Seal, filing 22, is hereby granted and the to-be-filed Motion and any accompanying order

 shall be filed under seal.

         DATED: July 5, 2005.


                                               BY THE COURT

                                               s/David L. Piester
                                               David L. Piester
                                               United States Magistrate Judge
